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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION
                                      (at Covington)

     STATE OF TENNESSEE, et al.,                      )
                                                      )
            Plaintiffs,                               )         Civil Action No. 2: 24-072-DCR
                                                      )
     V.                                               )
                                                      )
     LINDA MCMAHON, in her Official                   )                   ORDER
     Capacity as Secretary of Education, 1 et         )
     al.,                                             )
           Defendants.                                )

                                      ***       ***       ***   ***

          A Better Balance (“ABB”) filed a motion to intervene on February 26, 2025, for the

limited purpose of appealing this Court’s vacatur of the Department of Education’s 2024 Final

Rule entered on January 9, 2025. [Record No. 152] In another motion, ABB requested that

the Court extend the time to file an appeal by thirty days. [Record No. 153] ABB also filed

several pro hac vice motions. [See Record Nos. 154–162.]

          Two days later, the Victims Right Law Center (“VRLC”) by Jane Doe filed a motion

to intervene to appeal this Court’s order vacating the 2024 Final Rule. [Record No. 164] It

also filed a motion to expand the time to file a notice of appeal, a motion to proceed

pseudonymously as Jane Doe, and a motion for an expedited briefing schedule and a hearing.

[Record Nos. 165–67] They, too, filed a litany of pro hac vice motions. [See Record Nos.

168–73.]


1
  Former Secretary of Education, Miguel Cardona, was replaced by Linda McMahon, who was
confirmed by the Senate on March 3, 2025. Pursuant to Rule 25(d) of the Federal Rules of
Civil Procedure, Linda McMahon is properly substituted for Miguel Cardona as a defendant
in this suit.
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       On March 7, 2025, ABB filed an emergency motion to expedite the Court’s ruling on

the motion for an extension of time to file an appeal. [Record No. 179] It sought a ruling no

later than March 10, 2025, at 6:00 p.m. so that it could timely file a notice of appeal Otherwise,

it planned to timely file a notice of appeal that would divest this Court of jurisdiction to resolve

the pending motions related to the appeal.

       No ruling having been issued, both ABB and VRLC filed notices of appeal on March

10, 2025. [Record Nos. 181–82]

       “‘The filing of a notice of appeal is an event of jurisdictional significance-it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.’” Taylor v. KeyCorp, 680 F.3d 609, 616 (6th Cir. 2012)

(quoting Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)). Therefore, once a

notice of appeal is filed, the district court lacks jurisdiction to rule on a pending motion to

intervene. See Taylor, 680 F.3d at 616. Because the filing of a notice of appeal divests this

Court of jurisdiction on “aspects of the case involved in the appeal” this Court no longer has

jurisdiction to resolve those pending motions. Id. Accordingly, it is hereby

       ORDERED as follows:

       1.      A Better Balance’s motion to intervene [Record No. 152], motion to extend the

time to file an appeal [Record No. 153], and emergency motion to expedite [Record No. 179]

are DENIED as moot.

       2.      The motions to appear pro hac vice on behalf of A Better Balance for Alexandra

Brodsky [Record No. 154], Adele Kimmel [Record No. 155], Leila Nasrolahi [Record No.

156], Sean Ouellette [Record No. 157], Marissa Benavides [Record No. 158], Christman Rice



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[Record No. 159], Kory DeClark [Record No. 160], Matthew Borden [Record No. 161], and

Lily Haeun Kim [Record No. 162] are DENIED as moot.

      3.     The Victims Right Law Center and Jane Doe’s motion intervene [Record No.

164], motion to expand the time to file a notice of appeal [Record No. 165], motion for an

expedited briefing schedule and a hearing [Record No. 166] and motion to proceed

pseudonymously as Jane Doe [Record No. 167] are DENIED as moot.

      4.     The motions to appear pro hac vice on behalf of the Victims Right Law Center,

by Jane Doe, for Shiwali Patel [Record No. 168], Rachel Smith [Record No. 169], Elizabeth

Tang [Record No. 170], Elizabeth Theran [Record No. 171], Ellen Eardley [Record No. 172],

and Andrea Forsee [Record No. 173] are DENIED as moot.

      Dated: March 14, 2025.




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